             FILED
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Cat 3

              NOV 15 2021
                                       UNITED STATES DISTRICT COURT
            M. DAVID WE.tSMAN          NORTHERN DISTRICT OF ILLINOIS
           MAGISTRATE JUDGE
        UNITED STATES DISTRICT COURT
                                             EASTERN DIVISION

                             DESIGNATION SHEET FOR CRIMINAL PROCEEDINGS

              1.     Is this an indictment or information arising out of offenses charged in one or more
              previously filed complaints signed by a magistrate judge? No

                     la.   If the answer is "Yes," list the case number and title of the earliest filed
                     complaint:

                     lb.    Should this indictment or information receive a new case number from the
                     court? Yes

              2.     Is this an indictment or information that supersedes one or more previously filed
              indictments or informations? No

                     2a.     If the answer is "Yes," list the case number and title of the earliest filed
              superseded indictment or information and the name of the assigned judge (Local Rule
              40.3(b)(2)): n/a

              3.     Is this a re-filing of a previously dismissed indictment or information? No

              4.     Is this a case arising out of the failure of the defendant to appear in a criminal
              proceeding in this Court? No

              5.     Is this a transfer of probation supervision from another district to this District? No

              6.     What level of offense is this indictment or information? Felony

              7.     Does this indictment or information involve eight or more defendants? No

              8.     Does this indictment or information include a conspiracy count? No

              9.     Identify the type of offense that describes the count, other than any conspiracy count,
              with the most severe penalty: Other Fraud (III)

              10.    List the statute of each of the offenses charged in the indictment or information.
                     18 u.s.c. § 1343


                                                                ls/Brian Havey
                                                                BRIAN HAVEY
                                                                Assistant United States Attorney

    1:21-CR-00698
              JUDGE GETTLEMAN                                                   INTAKE NG
          MAGISTRATE JUDGE HARJANI                                                     11/15/2021
